        Case 6:16-bk-16877-WJ Doc 333 Filed 05/16/18 Entered 05/16/18 21:53:01                                                Desc
                            Imaged Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 16-16877-WJ
Russel Dennis Hiles, III                                                                                   Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-6                  User: ygoochC                      Page 1 of 1                          Date Rcvd: May 14, 2018
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 16, 2018.
db             +Russel Dennis Hiles, III,   155 Metate Place,   Palm Desert, CA 92260-7334

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
3pd*             +Russel Dennis Hiles, III,   155 Metate Place,   Palm Desert, CA 92260-7334
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 16, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 14, 2018 at the address(es) listed below:
              Charity J Miller    on behalf of Debtor Russel Dennis Hiles, III cmiller@goeforlaw.com,
               kmurphy@goeforlaw.com;goeforecf@gmail.com
              Everett L Green    on behalf of U.S. Trustee    United States Trustee (RS) everett.l.green@usdoj.gov
              Jason K Schrader    on behalf of U.S. Trustee    United States Trustee (RS)
               jason.K.Schrader@usdoj.gov
              Jennifer C Wong    on behalf of Creditor    Bank of America, N.A. bknotice@mccarthyholthus.com,
               jwong@ecf.courtdrive.com
              Joshua Lichtman     on behalf of Plaintiff    Farmers Insurance Exchange
               joshua.lichtman@nortonrosefulbright.com, Rhonda.cole@nortonrosefulbright.com
              Joshua Lichtman     on behalf of Creditor    Farmers Insurance Exchange
               joshua.lichtman@nortonrosefulbright.com, Rhonda.cole@nortonrosefulbright.com
              Kelly M Raftery    on behalf of Creditor    Wilmington Savings Fund Society, FSB, as trustee of
               Stanwich Mortgage Loan Trust A, its assignees and/or successors, by and through its servicing
               agent Carrington Mortgage Services, LLC bknotice@mccarthyholthus.com,
               kraftery@ecf.courtdrive.com
              Kelly M Raftery    on behalf of Interested Party    Courtesy NEF bknotice@mccarthyholthus.com,
               kraftery@ecf.courtdrive.com
              Kristin A Zilberstein    on behalf of Creditor    Wilmington Savings Fund Society, FSB, as trustee
               of Stanwich Mortgage Loan Trust A, its assignees and/or successors, by and through its servicing
               agent Carrington Mortgage Services, LLC ecfnotifications@ghidottilaw.com
              Leonard M Shulman    on behalf of Trustee Lynda T. Bui (TR) lshulman@shbllp.com
              Lynda T. Bui (TR)    trustee.bui@shbllp.com, C115@ecfcbis.com
              Randall P Mroczynski    on behalf of Creditor    Ford Motor Credit Company LLC randym@cookseylaw.com
              Randall P Mroczynski    on behalf of Creditor    Daimler Trust randym@cookseylaw.com
              Rebecca J Winthrop    on behalf of Creditor    Farmers Insurance Exchange
               rebecca.winthrop@nortonrosefulbright.com, evette.rodriguez@nortonrosefulbright.com
              Rika Kido     on behalf of Trustee Lynda T. Bui (TR) rkido@shbllp.com, ncarlson@shbllp.com
              Robert P Goe    on behalf of Debtor Russel Dennis Hiles, III kmurphy@goeforlaw.com,
               rgoe@goeforlaw.com;goeforecf@gmail.com
              Ronak N Patel    on behalf of Creditor    Treasurer Tax Collector County of Riverside
               rpatel@rivco.org, mdominguez@RIVCO.org
              Samuel Kornhauser     on behalf of Creditor Christopher T Borgeson skornhauser@earthlink.net
              Samuel Kornhauser     on behalf of Plaintiff Christopher T Borgeson skornhauser@earthlink.net
              Scott S Weltman    on behalf of Creditor    KeyBank, N.A. colcaecf@weltman.com
              Steven G Polard    on behalf of Interested Party Cynthia Ellen Hiles spolard@eisnerlaw.com,
               lewing@eisnerlaw.com
              United States Trustee (RS)    ustpregion16.rs.ecf@usdoj.gov
              William F McDonald, III    on behalf of Creditor    Bank of America, N.A. Caecf@tblaw.com,
               wfm@tblaw.com;snchampney@tblaw.com
                                                                                              TOTAL: 23
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     1   Karl T. Anderson CPA, Inc.
         340 South Farrell Drive, Suite A210
     2   Palm Springs, California 92262
         Telephone: (760) 320-2424                                      FILED & ENTERED
     3   Facsimile: (760) 778-8869
         E-mail: ktacpa@msn.com
     4                                                                        MAY 14 2018
         Proposed Accountants for
     5   Lynda T. Bui, Chapter 7 Trustee                                 CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
                                                                         BY gooch      DEPUTY CLERK
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     8                              UNITED STATES BANKRUPTCY COURT
     9                               CENTRAL DISTRICT OF CALIFORNIA
    10
                                              RIVERSIDE DIVISION
    11
    12
         In re:                                              Case No. 6:16-bk-16877-WJ
    13
         RUSSEL DENNIS HILES, III,                           CHAPTER 7
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                                                Debtor.      ORDER AUTHORIZING TRUSTEE
    15                                                       TO EMPLOY ACCOUNTANTS FOR
                                                             THE ESTATE
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                  /\QGD7%XL³7UXVWHH´WKe chapter 7 trustee for the bankruptcy estate of Russel Dennis
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         Hiles, III, has filed an application to employ Karl T. Anderson CPA, Inc. as her accountant
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         [docket #318] in this case. No one filed any opposition to the application and the deadline to do
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         so has passed. Therefore, good cause appearing, the Court hereby ORDERS:
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                  1.     The Trustee is authorized, pursuant to 11 U.S.C. § 327 and Rule 2014(a) of the
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         )HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUHWRHPSOR\.DUO7$QGHUVRQ&3$,QF³)LUP´WR
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         represent the Trustee in this case as her accountant effective as of March 12, 2018.
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                2.      All compensation to the Firm is subject to approval by the Court and no
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         compensation shall be paid unless and until (a) the Firm files and serves an appropriate
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         application in conformity with 11 U.S.C. §§ 330 & 331 and (b) the Court enters an order
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         approving allowed fees and costs.
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         IT IS SO ORDERED.
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    26 Date: May 14, 2018
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